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                                                                             2019 Jan-03 PM 01:10
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

    LARRY COLEMAN, et al.,              )
             Plaintiffs,                )
                                        )
                 v.                     )
                                                       2:18-cv-00248-LSC
     MORRIS-SHEA BRIDGE                 )
     COMPANY, INC., et al.,             )
                                        )
            Defendants.                 )

                           MEMORANDUM OF OPINION

      Plaintiffs Larry Coleman (“Larry”), Chester Coleman (“Chester”), and

Freddie Seltzer (“Freddie”) (collectively “Plaintiffs”) bring this action against

Defendants Morris-Shea Bridge Company, Inc. (“Morris-Shea”), Richard J.

Shea, Jr. (“Dick Shea”), and Richard J. Shea, III (“Richard Shea”)

(collectively “Defendants”), alleging violations of the Fair Labor Standards

Act (“FLSA”), Title VII, 42 U.S.C. § 1981, and the Age Discrimination in

Employment Act (“ADEA”). Before the Court is Morris-Shea and Dick Shea’s

motion to dismiss. (Doc. 20.) The motion has been fully briefed and is ripe

for review. For the reasons stated below, the motion is due to be denied.




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    I.     BACKGROUND 1

         Defendant Morris-Shea is a heavy construction contractor with a focus

on deep foundation work related to bridges, highways, buildings, and similar

foundation engineering. The company is managed and partially owned by

Defendants Dick and Richard Shea who are Caucasian. Both Dick and

Richard Shea are involved either directly or indirectly with all decisions

regarding Morris-Shea employees. Plaintiffs Larry Coleman, Chester

Coleman, and Freddie Seltzer are three brothers who are African-American.

The brothers are age sixty, fifty-six, and fifty-two, respectively. Each brother

was employed by Morris-Shea for at least twenty-five years. Larry worked in

various positions at Morris-Shea, and his last position was that of

superintendent. Chester and Freddie were construction crew members who

worked on various projects for Morris-Shea throughout the years.

         On April 10, 2017, the three brothers were all working on a construction

project at the home of Richard Shea in Mountain Brook, Alabama. Around

lunch time, Freddie and Chester left the worksite to get a sandwich at a local

restaurant. Larry did not leave the worksite during lunch because he had



1 In evaluating a motion to dismiss, this Court “accept[s] the allegations in the complaint
as true and construe[s] the facts in the light most favorable to the plaintiff.” Johnson v.
Midland Funding, LLC, 823 F.3d 1334, 1337 (11th Cir. 2016). The following facts, are
therefore, taken from the allegations contained in Plaintiffs’ Amended Complaint, and the
Court makes no ruling on their veracity.
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brought his lunch. Although it took Freddie and Chester less than thirty

minutes to return, Dick Shea complained to Larry that his brothers were

taking too long of a lunch break. When they returned to the worksite, Dick

Shea told Larry to send Freddie and Chester home. The next morning, when

Larry arrived at the worksite, another superintendent for Morris-Shea told

him that Dick Shea wanted him to leave the worksite and go home.

      About two weeks later, Lee Dubberly, a different superintendent for

Morris-Shea, called Larry and told him that he, Chester, and Freddie had all

been terminated by Morris-Shea. Although no one at Morris-Shea would tell

the brothers why they had been fired, when Larry asked human resources to

complete a form necessary for him to receive food stamps, a human

resource manager wrote “lack of work” as the reason for his termination.

Since their termination, Morris-Shea has not recalled the Plaintiffs to work

and has determined that they are not eligible for rehire. According to

Plaintiffs, Morris-Shea has never terminated a white employee for taking

more than thirty minutes at lunch. The construction workers hired to replace

Plaintiffs are all white and are substantially younger than Plaintiffs.

      In May 2017, a month after they were terminated, Plaintiffs filed

charges with the Equal Employment Opportunity Commission (“EEOC”),

alleging that Morris-Shea discriminated against them. Specifically, the EEOC

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charges claim that the brothers were harassed by fellow white employees

and compensated less than similarly situated white employees due to their

race. The EEOC charges also include allegations that the brothers were

terminated due to age and race discrimination.

 II.     STANDARD OF REVIEW

       In general, a pleading must include “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

However, in order to withstand a motion to dismiss pursuant to Fed. R. Civ.

P. 12(b)(6), a complaint “must plead enough facts to state a claim to relief

that is plausible on its face.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1347–

48 (11th Cir. 2016) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)) (internal quotation marks omitted). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Stated another way, the factual

allegations in the complaint must be sufficient to “raise a right to relief above

the speculative level.” Edwards v. Prime, Inc., 602 F.3d 1276, 1301 (11th Cir.

2010). A complaint that “succeeds in identifying facts that are suggestive

enough to render [the necessary elements of a claim] plausible” will survive




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a motion to dismiss. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1296 (11th Cir.

2007) (quoting Twombly, 550 U.S. at 556) (internal quotation marks omitted).

      In evaluating the sufficiency of a complaint, this Court first “identif[ies]

pleadings that, because they are no more than conclusions, are not entitled

to the assumption of truth.” Iqbal, 556 U.S. at 679. This Court then

“assume[s] the[] veracity” of the complaint’s “well-pleaded factual

allegations” and “determine[s] whether they plausibly give rise to an

entitlement to relief.” Id. Review of the complaint is “a context-specific task

that requires [this Court] to draw on its judicial experience and common

sense.” Id. If the pleading “contain[s] enough information regarding the

material elements of a cause of action to support recovery under some

‘viable legal theory,’” it satisfies the notice pleading standard. Am. Fed’n of

Labor & Cong. of Indus. Orgs. v. City of Miami, 637 F.3d 1178, 1186 (11th

Cir. 2011) (quoting Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678,

683–84 (11th Cir. 2001)).

      “In general, if it considers materials outside of the complaint, a district

court must convert the motion to dismiss into a summary judgment motion.”

SFM Holdings, Ltd. v. Banc. of Am. Sec., LLC, 600 F.3d 1334, 1337 (11th

Cir. 2010). However, a “district court may consider an extrinsic document if

it is (1) central to the plaintiff’s claim, and (2) its authenticity is not

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challenged.” See id. (citing Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir.

2005)). In their Amended Complaint, Plaintiffs refer to their EEOC charges

and notice of right to sue letters. The EEOC charges are also referred to

throughout the motion to dismiss. As the Court finds the EEOC charges

central to the plaintiffs’ claims and their authenticity is not in dispute, the

Court will take them into consideration in this Opinion. 2

III.      DISCUSSION

       Defendant Dick Shea seeks to dismiss the § 1981 claims brought

against him in Counts Five, Six, Seven, Eleven, Twelve, and Thirteen of the

Amended Complaint for failure to state a claim. Morris-Shea also seeks

dismissal of certain allegations contained within Counts Two and Eight of the

Amended Complaint, arguing that Plaintiff Larry Coleman failed to exhaust

his administrative remedies with respect to these allegations. Defendants

also ask the Court to require the Plaintiffs to re-plead their claims, contending

that the Amended Complaint is “needlessly long, unnecessarily repetitive,

and frustrates Defendants’ ability to respond to material allegations against

them.” (See Doc. 20 at 12.) The Court will address each argument in turn.



2Typically, an EEOC charge will not merely be referenced by the plaintiff or defendant
but will be attached as either an exhibit to the complaint or motion to dismiss. Here, the
EEOC charges are not attached as exhibits to either the Amended Complaint or the
Motion to Dismiss. However, the charges are in the record as attachments to Plaintiffs’
original complaint. (See Docs. 1-1, 1-2, & 1-3.)
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      A.     42 U.S.C. § 1981 Claims Against Dick Shea

      Under 42 U.S.C. § 1981, “[a]ll persons within the jurisdiction of the

United States shall have the same right in every State . . . to make and

enforce contracts, to sue, be parties, give evidence, and to the full and equal

benefit of all laws and proceedings for the security of persons and property

as is enjoyed by white citizens . . . .” 42 U.S.C. § 1981. “To state a claim of

race discrimination under § 1981, [a plaintiff] must allege facts establishing:

(1) that [he] is a member of a racial minority; (2) that the defendant intended

to discriminate on the basis of race; and (3) that the discrimination concerned

one or more of the activities enumerated in the statute.” See Moore v. Grady

Mem’l Hosp. Corp., 834 F.3d 1168, 1171–72 (11th Cir. 2016) (quoting

Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1270 (11th Cir. 2004)).

Unlike claims of racial discrimination brought under Title VII, individual

employees may be held personally liable for violating § 1981. See Faraca v.

Clements, 506 F.2d 956, 959 (5th Cir. 1975). 3 However, a supervisor may

be held individually liable under § 1981 only if he personally participated in




3 The Eleventh Circuit has adopted as precedent decisions of the former Fifth Circuit
rendered prior to October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc).
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the alleged discrimination. See Burnstein v. Emtel, Inc., 137 Fed. App’x 205,

208 (11th Cir. 2005). 4

      Plaintiffs bring § 1981 claims against all three Defendants, alleging that

they were compensated less than white employees and subjected to a

racially hostile work environment. Defendant Dick Shea does not dispute that

Plaintiffs have sufficiently alleged that they are members of a racial minority

and that the alleged discrimination concerns activities described in the

statute. However, he argues that Plaintiffs’ allegation that “[a]cting as the

manager of Morris-Shea, [Dick Shea] is involved either directly or indirectly,

with all decisions regarding Morris-Shea’s employment contract[s] with”

Plaintiffs is insufficient to state a claim that he personally engaged in

intentional discrimination. (See Doc. 20 at 6.) Instead, he contends that to

state a § 1981 claim against him Plaintiffs would need to allege that he

personally decided to pay Plaintiffs less than white employees or that he

personally subjected Plaintiffs to a racially hostile work environment.

      The Court disagrees with Dick Shea’s contention that Plaintiffs have

not alleged sufficient facts to state claims for individual § 1981 liability against

him. Plaintiffs’ allegations that Dick Shea was involved with all decisions



4“Unpublished opinions are not considered binding precedent, but they may be cited as
persuasive authority.” 11th Cir. R. 36-2.
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regarding Morris-Shea’s employment contracts could give rise to the

reasonable inference that Dick Shea was involved in the decisions to

compensate Plaintiffs differently than their white counterparts. As Plaintiffs

have stated that these decisions were racially motivated, these allegations

could support a claim of individual § 1981 liability under Counts Five, Six,

and Seven of the Amended Complaint. Moreover, the Plaintiffs’ allegations

that Dick Shea is the manager of Morris-Shea, who is involved with all

decisions regarding Morris-Shea employees, combined with the allegations

that the Defendants, collectively, engaged in acts that favored white

employees over Plaintiffs could support a claim against Dick Shea for § 1981

liability under Counts Eleven, Twelve, and Thirteen of the Amended

Complaint.

     Contrary to Dick Shea’s assertion, the Plaintiffs are not attempting to

impermissibly hold him vicariously liable for the alleged discriminatory acts

of others. Instead, they have alleged facts that raise a reasonable inference

that Dick Shea personally participated in decisions that led to the Plaintiffs

being compensated less than white employees and being subjected to a

racially hostile work environment. Certainly, to survive summary judgment

Plaintiffs will have to present evidence of Dick Shea’s personal involvement

in these decisions. However, at this motion to dismiss stage, the Court

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cannot say that there are insufficient factual allegations linking Dick Shea to

the alleged discriminatory conduct that would warrant dismissal of the § 1981

claims against him. Therefore, Dick Shea’s motion to dismiss the § 1981

claims against him is due to be denied.

      B.    Exhaustion of Administrative Remedies

      Title VII prohibits employment discrimination based on race. 42 U.S.C.

§ 2000e-2. This includes discrimination with respect to compensation or any

other terms or conditions of employment. See id. A plaintiff may bring a Title

VII action in district court against an employer that discriminates against him

based on race but only after exhausting his administrative remedies. See

Forehand v. Fla. State Hosp. at Chattahoochee, 89 F.3d 1562, 1567 (11th

Cir. 1996). Typically, exhaustion requires a plaintiff to file a charge with the

EEOC. See id. The EEOC charge limits the scope of the plaintiff’s

allegations. See Gregory v. Ga. Dep’t of Human Resources, 355 F.3d 1277,

1279 (11th Cir. 2004). However, “the scope of an EEOC complaint should

not be strictly interpreted.” Sanchez v. Standard Brands, Inc., 431 F.2d 455,

465 (5th Cir. 1970). Rather, a plaintiff’s district court complaint “is limited by

the scope of the EEOC investigation which can reasonably be expected to

grow out of the charge of discrimination.” Gregory, 355 F.3d at 1280 (quoting

Sanchez, 431 F.2d at 465). Thus, claims that “amplify, clarify, or more clearly

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focus” the allegations in the EEOC charge are permissible, but those that

make allegations of new acts of discrimination are disallowed. See id. at

1279 (citing Wu v. Thomas, 863 F.2d 1543, 1548 (11th Cir. 1989)).

     Morris-Shea points to three allegations by Larry Coleman in the

Amended Complaint that it argues are materially different than the claims in

his EEOC charge. Specifically, Morris-Shea points to allegations in Count

Two of the Amended Complaint that in 2008 Morris-Shea reduced the

salaries paid to all superintendents, including Larry, but that after business

improved Morris-Shea only reinstated the salaries of the Caucasian

superintendents. (See Doc. 18 at ¶¶ 45–46.) Morris-Shea also contends that

allegations in Count Eight of the Amended Complaint that Larry was

improperly classified as a salaried employee and that Larry was not

rewarded for work performed in the same manner as similarly situated white

employees are new allegations of discrimination that did not grow out of

Larry’s EEOC charge. (See id. at ¶¶ 166–69.)

     While it is true that none of these specific allegations were made in the

EEOC charge, they are all related to the claims Larry made to the EEOC.

With respect to Count Two, Larry’s EEOC charge states that “[t]here was . . .

a disparity [in] how African Americans were paid compared to Caucasian

employees.” (See Doc. 1-1 at 5.) It further states that Larry was paid $1,400

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a week while a white counterpart made $2,500 a week. (See id.) Although

the EEOC Charge does not mention that this was not always the case and

that the white superintendents’ salaries were reinstated after an uptick in

business while Larry’s was not, the information provided was sufficient to put

Morris-Shea on notice of Larry’s Title VII compensation claim against it. An

EEOC investigation would likely look at the entire picture of Larry’s salary

history with Morris-Shea when investigating his claim that he was paid

differently than similarly situated white employees. Further, the allegations

regarding reinstatement of salary are not allegations of a different type of

discrimination than the compensation claims contained within the EEOC

charge. Therefore, Morris-Shea’s motion to dismiss this allegation from

Count Two for failure to comply with Title VII’s administrative exhaustion

requirement is due to be denied.

      Similarly, Morris-Shea’s argument that the allegations in Count Eight

are due to be dismissed is without merit. Morris-Shea contends that although

Larry’s EEOC Charge included claims that he was salaried and paid less

than other salaried employees that there are no allegations in the EEOC

Charge related to whether he was discriminated against due to his exempt

status under the FLSA. According to Morris-Shea, an EEOC investigation

would only look to whether or not Larry was treated differently than other

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salaried employees and not look to his treatment compared to non-salaried

white employees. However, as pointed out by Plaintiffs, Larry’s EEOC

Charge included the statement that he “was classified as a salary worker and

paid $35 an hour for 8 hours a day, five days a week, despite having to work

longer hours and not treated as a superintendent.” (See id.) Although the

EEOC Charge never specifically mentions the FLSA, “[t]he specific words of

the charge of discrimination need not presage with literary exactitude the

judicial pleadings which may follow.” IMPACT v. Firestone, 893 F.2d 1189,

1196 (11th Cir. 1990) (quoting Sanchez, 431 F.2d at 465). Due to Larry’s

broad assertions regarding his classification as a salaried worker and the

failure to pay him overtime, the Court is convinced that it would have been

reasonable for the EEOC to investigate Larry’s treatment in comparison to

the non-salaried white employees.

     The same is true for Larry’s allegations in Count Eight that

Superintendent Dubberly and his crew were rewarded for successfully

completing tasks assigned to them but Larry and his crew were never

rewarded for the work they performed. (See Doc. 18 at ¶ 166.) Larry’s EEOC

charge stated that “[t]here was an obvious difference in how I was treated as

the lone African-American superintendent compared to the other white

superintendents.” (See Doc. 1-1 at 5.) Based on this allegation, an EEOC

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investigation into how Morris-Shea treated Larry would likely look at all

aspects of how he was treated in comparison to the white superintendents

and not just the specific examples provided in the EEOC charge. Assuming

Larry’s allegation that Morris-Shea treated his crew differently is true, this

investigation would likely reveal that Morris-Shea only rewarded the white

superintendents’ crews for the successful completion of tasks. Therefore,

Morris-Shea’s motion to dismiss the allegations in Count Eight for failure to

exhaust administrative remedies is due to be denied.5

      C.     Shotgun Pleading

      Defendants finally argue that the Court should strike the Amended

Complaint and require Plaintiffs to re-plead their claims. Rule 8(a)(2) requires

a complaint to include “a short and plain statement of the claim showing the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule 10(b) further

provides:

       A party must state its claims or defenses in numbered
       paragraphs, each limited as far as practicable to a single set of
       circumstances. A later pleading may refer by number to a
       paragraph in an earlier pleading. If doing so would promote
       clarity, each claim founded on a separate transaction or


5 Morris-Shea also states that the allegation that Morris-Shea “never rewarded Larry
Coleman for the work performed by him and his crew” is vague and does not put it on
notice of the precise unlawful conduct complained of. (See Doc. 20 at 9.) To the extent
that Morris-Shea argues that this allegation is deficiently pleaded, the Court agrees with
Plaintiffs that this allegation provides sufficient factual detail to survive the motion to
dismiss stage.
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      occurrence–and each defense other than a denial—must be
      stated in a separate count or defense.

Fed. R. Civ. P. 10(b).

      Complaints that violate these rules are often referred to as “shotgun

pleadings.” “The failure of the plaintiff to identify his claims with sufficient

clarity to enable the defendant to frame a responsible pleading constitutes

shotgun pleading.” See Sledge v. Goodyear Dunlop Tires North America,

Ltd., 275 F.3d 1014, 1018 n.8 (11th Cir. 2001). The Eleventh Circuit has

identified four rough “categories” of shotgun pleadings that are prohibited:

      The most common type—by a long shot—is a complaint
      containing multiple counts where each count adopts the
      allegations of all preceding counts, causing each successive
      count to carry all that came before and the last count to be a
      combination of the entire complaint. The next most common type
      . . . is a complaint that does not commit the mortal sin of re-
      alleging all preceding counts but is guilty of the venial sin of being
      replete with conclusory, vague, and immaterial facts not
      obviously connected to any particular cause of action. The third
      type of shotgun pleading is one that commits the sin of not
      separating into a different count each cause of action or claim for
      relief. Fourth, and finally, there is the relatively rare sin of
      asserting multiple claims against multiple defendants without
      specifying which of the defendants are responsible for which acts
      or omissions, or which of the defendants the claim is brought
      against.


Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1321–23 (11th

Cir. 2015) (footnotes omitted). “The unifying characteristic of all types of

shotgun pleadings is that they fail to one degree or another, and in one way
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or another, to give the defendants adequate notice of the claims against them

and the grounds upon which each claim rests.” Id. at 1323.

       Plaintiffs’ Amended Complaint is ninety-one pages long and includes

five hundred separate paragraphs. Although the Amended Complaint alleges

violations of only four different federal statutes, it contains twenty-two counts.

As Defendants note, “[w]hile each Count is specific to a particular Plaintiff,

most of the paragraphs are substantially identical to the paragraphs

contained in the other Counts of the same claim.” (See Doc. 20 at 12.) For

example, the Amended Complaint does not include a factual allegation

section, but instead, repeats basic facts, such as, “Morris-Shea is a heavy

construction contractor with a focus on deep foundation work related to

bridges, highways, buildings, and similar foundation engineering” in multiple

different counts. (See Doc. 18 at ¶¶ 15, 99, 125, 142, 218, 242, 259, 352,

376, 398.) At times, the Amended Complaint refers collectively to

“Defendants” rather than specify which Defendant committed which alleged

act.

       Even though Plaintiffs’ Amended Complaint bears some resemblance

to a shotgun pleading, it is not one. “[T]his is not a situation where a failure

to more precisely parcel out and identify the facts relevant to each claim

materially increased the burden of understanding the factual allegations

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underlying each count.” Weiland, 792 F.3d at 1324. Indeed, Plaintiffs

included the relevant facts in each Count of the Amended Complaint

regardless of whether those facts had already been stated earlier in the

complaint.

      Moreover, the Amended Complaint put Defendants on notice of the

allegations against them. Plaintiffs clearly identified the causes of action

brought against Defendants and in each and every Count noted which

specific Defendant that particular Count was brought against. Despite

arguing that the Amended Complaint constitutes shotgun pleading,

Defendants have not pointed out any specific factual allegations that are

immaterial to Plaintiffs’ claims. While the Court’s own review of the Amended

Complaint does reveal that Plaintiffs unnecessarily repeat certain factual

allegations, it does not find that the Amended Complaint is replete with facts

that are immaterial to Plaintiffs’ claims. Nor does the Amended Complaint fail

to separate out Plaintiffs’ various causes of action. In fact, Defendants

complain of just the opposite—that Plaintiffs have unnecessarily separated

out their claims into twenty-two different counts.

      To be sure, at times, the Amended Complaint does refer to the three

defendants collectively as “Defendants” and does not specify whether the

defendants are alleged to have acted collectively or individually. In certain

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instances this lack of specification would render a complaint a shotgun

pleading. See, e.g., Magluta v. Samples, 256 F. 3d 1282, 1284 (11th Cir.

2001); Ebrahimi v. City of Huntsville Bd. of Educ., 114 F.3d 162, 164 (11th

Cir. 1997). However, the mere fact that defendants are accused collectively

does not always necessitate a restatement of the complaint. Instead, where

“[t]he complaint can be fairly read to aver that all defendants are responsible

for the alleged conduct,” the complaint is not deficient. See Kyle K. v.

Chapman, 208 F.3d 940, 944 (11th Cir. 2000). This is one of those

circumstances. The Amended Complaint identifies Dick and Richard Shea

as part owners and managers of Morris-Shea. Based on this allegation, it

can be inferred that they, along with Morris-Shea, hired, employed, and paid

Defendants. Thus, even though discovery may reveal otherwise, it is

plausible that all three are responsible for the conduct alleged.

      In sum, the Court agrees with Defendants’ observation that the

Amended Complaint is unnecessarily long and repetitive. However, its

stylistic shortcomings are not so severe as to necessitate amendment. If the

Amended Complaint were a shotgun pleading, it would be “difficult to

understand what the Defendants ‘were alleged to have done and why they

were liable for doing it.’” See Downing v. Midland Funding, LLC, No. 2:15-

cv-00737-RDP, 2016 WL 125861, at *3 (N.D. Ala. Jan. 12, 2016) (quoting

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Wright v. Watson, No. 15-cv-34, 2015 WL 4873381, at *3 (M.D. Ga. Aug. 13,

2015)). Here, the Court concludes that the “counts are informative enough

to permit a court to readily determine if they state a claim upon which relief

can be granted.” Weiland, 792 F.3d at 1326. Accordingly, Defendants’

motion to strike the Amended Complaint and require Plaintiffs to re-plead is

due to be denied.

IV.     CONCLUSION

      For the reasons stated above, Morris-Shea and Dick Shea’s motion to

dismiss (doc. 20) is due to be denied. An order consistent with this opinion

will be entered contemporaneously herewith.

      DONE and ORDERED on January 3, 2019.



                                          _____________________________
                                                  L. Scott Coogler
                                             United States District Judge
                                                                            194800




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